                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)

                                                       )
In re:                                                 )
                                                       )
ELDERHOME LAND, LLC,                                   )       Case No. 21-10492-MCR
                                                       )       Chapter 11
         Debtor.                                       )
                                                       )
In re:                                                 )
                                                       )
BURTONSVILLE CROSSING, LLC                             )       Case No. 21-10491-MCR
                                                       )       Chapter 11
         Debtor.                                       )
                                                       )       Jointly Administered Under
                                                       )       Case No. 21-10492-MCR
                                                       )
                                                       )

               SECOND AMENDED JOINT PLAN OF REORGANIZATION
                  (ElderHome Land, LLC and Burtonsville Crossing, LLC)

        ElderHome Land, LLC and Burtonsville Crossing, LLC, Debtors and Debtors-In-
Possession (the “Debtors”), jointly propose the following Second Amended Joint Chapter 11 Plan
of Reorganization (this “Plan”) to resolve the outstanding Claims against, and Equity Interests, in
the Debtors. The Debtors (together, the “Plan Proponents”) have the right to modify the Plan
before or after confirmation and before consummation of the Plan, but only in accordance with the
Bankruptcy Code. All Holders of Claims against the Debtors, absolute or contingent, including
all Claims arising from the rejection of Executory Contracts and/or Unexpired Leases, and all
Holders of Equity Interests in the Debtors shall be bound by the provisions of the Plan.

        The Plan is structured to ensure the maximum possible return to Creditors while also
ensuring the continuation of the Debtors’ business and the strengthening of its finances, which will
serve as a source of payments to Creditors on their Claims.

      Reference is made to the Joint Disclosure Statement (the “Disclosure Statement”), filed
contemporaneously with the Plan, for a summary and analysis of the Plan.

                                            ARTICLE I
                                           DEFINITIONS

        1.01 Rules of Interpretation. Whenever from the context it appears appropriate, each
term stated in either the singular or the plural shall include the singular and the plural, and pronouns
stated in the masculine, the feminine or the neuter gender shall include the masculine, the feminine
and the neuter. The words, “herein,” “hereof,” “hereto,” “hereunder” and others of similar import,
refer to the Plan as a whole and not to any particular section, subsection, clause or paragraph
contained in the Plan. Captions and headings to Articles, sections, paragraphs and exhibits are
included for convenience of reference only and are not intended to be part of or to affect the
interpretation of the Plan. The rules of construction set forth in Section 102 of the Bankruptcy
Code shall apply to the Plan. In the event of any inconsistency between or among the Plan, the
Disclosure Statement and the Confirmation Order, the Plan shall take precedence over the
Disclosure Statement, and the Confirmation Order shall take precedence over the Plan and the
Disclosure Statement.

       1.02 Definitions. Unless the context requires otherwise, the following words and
phrases shall have the meaning set forth below when used in an initially capitalized form in the
Plan. Any word or phrase used in the Plan that is not defined in the Plan will have the meaning
ascribed to that term in or under the Bankruptcy Code or the Bankruptcy Rules:

         “Administrative Expense” shall mean, collectively, (a) any cost or expense of
administration of the Chapter 11 Cases allowable under sections 503, 507(a)(2), or 507 (b) of the
Bankruptcy Code, including, without limitation, the fees and expenses of professionals employed
by the Debtors pursuant to Article II of the Plan (including without limitation costs and expenses
arising from and after the Confirmation Date through the Effective Date), and (b) any fees or
charges assessed against the Debtors’ Estates under Section 1930, Title 28, United States Code.

        “Administrative Claims Bar Date” shall mean the date that is thirty (30) days after the
Effective Date. The Administrative Claims Bar Date shall not constitute a bar against (a)
Professional Fee Claims for any Administrative Expense for services rendered in connection with
the Chapter 11 Case, or (b) payment of any fees or charges assessed against the Debtors’ Estates
under Section 1930, Title 28, United States Code, whether accruing prior to or after the
Administrative Claims Bar Date.

         “Allowed” shall mean, except as otherwise provided herein: (a) a Claim of any kind that
has been allowed by a Final Order; (b) a Claim of any kind that is either not Disputed or otherwise
subject to an objection as of the Claims Objection Bar Date; (c) a Claim that has been scheduled
by the Debtors in its Schedules other than those scheduled as disputed, contingent (except as
identified herein) or unliquidated and is not Disputed or is otherwise subject to an objection as of
the Claims Objection Bar Date; (d) a Claim that is allowed: (i) in any stipulation of amount and
nature of Claim executed before the entry of the Confirmation Order and approved by the
Bankruptcy Court; (ii) in any stipulation with the Debtors of the amount and nature of Claim or
Equity Interest executed on or after the entry of the Confirmation Order; or (iii) in or pursuant to
any contract, instrument, or other agreement entered into or assumed in connection herewith; (e)
a Claim that is allowed pursuant to the terms hereof; or (f) a Disputed Claim as to which a proof
of Claim was timely filed and as to which no objection has been filed as of the Claims Objection
Bar Date.

        “Avoidance Action” shall mean any cause of action arising in these Chapter 11 Cases
to avoid a transfer of property of the Debtors or the Debtors’ Estates or to recover such property,
or the value of such property, pursuant to Sections 542, 543, 544, 545, 547, 548, 549, 550 and/or
551 of the Bankruptcy Code, or to recover damages or other monetary relief on account of any
violation of the automatic stay pursuant to Section 362 of the Bankruptcy Code.


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         “Bankruptcy Code” shall mean Title 11 of the United States Code.

      “Bankruptcy Court” shall mean the United States Bankruptcy Court for the District of
Maryland.

         “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure.

        “Bar Date”, with respect to non-governmental entities shall mean July 26, 2021, which
was the date set by the Bankruptcy Court as the last day by which a creditor that is a non-
governmental entity is permitted to file a proof of claim and, with respect to governmental
entities, the date that is 180 days after the Petition Date.

       “Burtonsville Crossing” shall mean Burtonsville Crossing, LLC, one of the joint
Debtors in these Chapter 11 Cases.

       “Burtonsville Crossing Property” shall mean approximately 11 acres of land owned by
Burtonsville Crossing, LLC, and located in Montgomery County, Maryland, next to
Burtonsville Crossing Shopping Center.

       “Causes of Action” means, other than Avoidance Actions, any and all claims, actions,
adversary proceedings, causes of action, liabilities, obligations, rights, suits, debts, sums of
money, damages, judgments and demands whatsoever, whether pending or not pending, known
or unknown, whether or not scheduled as an asset of the Debtors, disputed or undisputed, legal
or equitable, absolute or contingent, that are already pending or that have accrued or are
accruing to the Debtors or the Estates, or that may be pursued derivatively by or on behalf of
the Debtors or the Estates.

         “Chapter 11” shall mean Chapter 11 of the Bankruptcy Code.

      “Chapter 11 Cases” shall mean the above-captioned Chapter 11 bankruptcy cases of
ElderHome Land, LLC and Burtonsville Crossing, LLC.

         “Claim” shall have the meaning set forth in Section 101 of the Bankruptcy Code.

        “Claimant” shall mean any entity (as defined in the Bankruptcy Code) holding or
asserting a Claim against the Debtors.

        “Claims Objection Bar Date” means the date by which the Debtors or any other party
in interest must object to a Claim, proof of which was timely filed by the applicable Bar Date.

         “Class” shall mean any class of Creditors or Interest Holders as established by the Plan.

         “Confirmation Date” shall mean the date the Bankruptcy Court enters the Confirmation
Order.

      “Confirmation Hearing” shall mean the hearing held pursuant to Section 1128 of the
Bankruptcy Code with respect to the Plan.




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        “Confirmation Order” shall mean the order of the Bankruptcy Court confirming the
Plan.

        “Creditor” shall have the meaning set forth in Section 101 of the Bankruptcy Code.

       “Debtors” shall mean, together, ElderHome Land, LLC and Burtonsville Crossing,
LLC. Debtors and “Reorganized Debtors” are sometimes used interchangeably, but mean the
same thing for purposes of the Plan.

        “Debtor-In-Possession” shall mean the Debtors in their capacity as debtors in possession
in these Chapter 11 Cases pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

        “Debtor’s Bankruptcy Counsel” shall mean the law firm of Hirschler Fleischer, PC.

        “Disclosure Statement” shall mean the Joint Disclosure Statement for use in connection
with the Plan and distributed to holders of Claims entitled to vote for the purpose of acceptance
or rejection of the Plan, as amended, restated or supplemented.

         “Disputed” shall mean any Claim or any portion thereof which is not Allowed or
Disallowed and which is (i) filed for which no amount was scheduled by the Debtors in the
Schedules; (ii) filed in an amount or priority different than was scheduled by the Debtors in
the Schedules; (iii) scheduled as unliquidated, contingent or disputed; (iv) a duplicate of
another Claim; or (v) the subject of a pending application, motion, complaint, objection, or any
other legal proceeding seeking to disallow, limit, subordinate, or estimate such Claim. A Claim
is also a Disputed Claim if the Debtors have named the Holder of the Claim as a defendant or
a counterclaim defendant in any legal or other proceeding.

       “Disallowed” when used with respect to a Claim, means a Claim that has been
disallowed by a Final Order.

      “Discount Termination Date” shall mean that date that is sixty (60) days after the Plan
Payment Date.

       “Eagle Litigation” shall mean Elderhome Land, LLC, et al. v. Eagle Commercial
Ventures, LLC, et al., Adversary Proceeding No. 22-00090, pending before the Bankruptcy
Court.

       “Effective Date” means thirty (30) days following the date on which the Confirmation
Order becomes a Final Order.

       “ElderHome Land” shall mean ElderHome Land, LLC, one of the joint Debtors in these
Chapter 11 Cases.

       “ElderHome Land Property” shall mean approximately 5.86 acres +/- of commercial
property owned by ElderHome Land, LLC, and is the site of a proposed senior housing project.

        “Estate(s)” shall mean the Chapter 11 bankruptcy estate of the Debtor(s).



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        “Executory Contract or Unexpired Lease” means a contract or lease to which the
Debtors are a party that is subject to assumption or rejection under Section 365 of the
Bankruptcy Code and includes any modifications, amendments, addenda or supplements
thereto or restatements thereof.

       “Equity Interest” shall mean the membership interests in ElderHome Land, LLC and
Burtonsville Crossing, LLC.

       “Final Order” shall mean an order or judgment of the Bankruptcy Court which has not
been reversed, stayed, modified or amended, and (a) as to which the time to appeal or seek
reconsideration or rehearing thereof has expired; (b) in the event a motion for reconsideration
or rehearing is filed, such motion shall have been denied by an order of the Bankruptcy Court
or other applicable court; or (c) in the event an appeal is filed and pending, a stay pending
appeal has not been entered.

        “General Unsecured Claims” shall mean Unsecured Claims that are not entitled to any
priority or administrative treatment.

       “Holder” shall mean any holder of a Claim in the Debtors.

       “Impaired” refers to any Claim or Interest that is impaired within the meaning of
Sections 1123(a)(4) and 1124 of the Bankruptcy Code with respect to a Claim, Equity Interest,
or Class of Claims or Equity Interests.

       “Interest Holder” shall mean any holder of an Equity Interest in the Debtors.

       “MIG Allowed Claim” shall mean the Allowed Secured Claim of Millenium
Investment Group, LLC as provided in section 3.03 of the Plan.

       “MIG Litigation” shall mean Elderhome Land, LLC, et al. v. Millenium Investment
Group, LLC, Adversary Proceeding No. 21-00204, pending before the Bankruptcy Court.

        “Petition Date” shall mean January 25, 2021, the date that the Debtors filed voluntary
petitions for relief under Chapter 11 of the Bankruptcy Code.

        “Plan” shall mean this Second Amended Joint Plan of Reorganization, including the
exhibits and schedules hereto, either in its present form or as it may be amended, supplemented
or modified from time to time in accordance with the provisions of the Plan, the Bankruptcy
Code and the Bankruptcy Rules.

        “Plan Payment Date” shall mean the date that is sixty (60) days after the Effective Date
of the Plan.

        “Priority Unsecured Claim” shall mean all Claims entitled to priority under Section 507
of the Bankruptcy Code, other than Priority Tax Claims.

       “Priority Tax Claim” shall mean any Claim entitled to priority pursuant to Section
507(a)(8) of the Bankruptcy Code.


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        “Professional(s)” shall mean any professional employed in the Bankruptcy Case
pursuant to Sections 327, 330 or 1103 of the Bankruptcy Code or any professional or other
entity seeking compensation or reimbursement of expenses from the Debtors in connection with
the Chapter 11 Case pursuant to Sections 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy
Code.

        “Professional Fee Claim” shall mean the Claims of a Professional under sections 328,
330(a), 331, 503 or 1103 of the Bankruptcy Code for compensation of a Professional or other
entity for services rendered or expenses incurred in these Chapter 11 Cases.

       “Properties” means, together, the ElderHome Land Property and the Burtonsville
Crossing Property.

       “Pro Rata” means, unless the Plan specifically provides otherwise, with respect to
Claims, the proportion that the amount of a Claim in a particular Class bears to the aggregate
amount of all Claims in such Class.

       “Rejection Claims Bar Date” shall mean the first to occur of (1) a bar date set pursuant
to Court order that governs the filing of a claim arising from the rejection of an Unexpired
Lease or an Executory Contract; (2) the Claims Bar Date, to the extent that an Unexpired Lease
or Executory Contract was rejected prior to the Claims Bar date; or (3) thirty (30) days
following the Confirmation Date.

       “Rejection Damage Claim” shall mean any Claim for damages arising from or in
connection with the rejection of an Executory Contract or Unexpired Lease.

        “Reorganized Debtor(s)” shall mean the Debtor(s), as reorganized pursuant to the Plan,
on and after the Effective Date, which shall be vested with the rights and obligations to carry
out the provisions of the Plan.

        “RLUIPA Litigation” shall mean the litigation pursued under the Religious Land Use
and Institutionalized Person Act of 2000, captioned Canaan Christian Church, et al. v.
Montgomery County, Maryland, which was appealed to the United States Court of Appeals for
the Fourth Circuit, Case No. 20-2185, together with any further proceedings before the United
States Supreme Court or any other court relating thereto.

       “Secured Claim” shall mean any Claim to the extent that it is determined to be secured
pursuant to Section 506(a) of the Bankruptcy Code.

       “Unsecured Claim” shall mean any Claim, to the extent that it is not determined to be
a Secured Claim.

                                   ARTICLE II
                          TREATMENT OF ADMINISTRATIVE
                         EXPENSE AND PRIORITY TAX CLAIMS

      2.01 Administrative Expenses. Except as set forth below, each holder of an Allowed
Administrative Expense shall be entitled to payment in full in cash upon the later of (a) the


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Effective Date, (b) the date on which an order of the Bankruptcy Court allowing such
Administrative Expense becomes a Final Order, or (c) the date, or dates, on which the Plan
Proponents and the holder of such Allowed Administrative Expense agree or have agreed. Any
final request for payment of an Administrative Expense must be filed no later than thirty (30) days
after the Effective Date. The Administrative Claims Bar Date shall not constitute a bar to
Professional Fee Claims, whether accruing prior to or after the Administrative Claims Bar Date.
Requests for payment of Administrative Expenses shall be made by motion or application, as
applicable, pursuant to the rules of the Bankruptcy Court. Notice of such motion or application for
the allowance or payment of any Administrative Expense Claim shall be given to the Debtors,
Debtors’ Bankruptcy Counsel, the Office of the United States Trustee and to Creditors and parties
in interest who have requested notice pursuant to Bankruptcy Rule 2002. The failure to file a
motion or application for the allowance of any Administrative Expense on or before the
Administrative Claims Bar Date shall constitute a bar against the assertion or collection of any
such Administrative Expense, and shall relieve the Debtors’ Estate and the Reorganized Debtors
from any liability, responsibility or obligation with respect to such Administrative Expense.
Notwithstanding the foregoing, the Debtors may, in their sole discretion, pay Administrative
Expenses incurred in the ordinary course of the Debtors’ business without motion or Court order.
Administrative Expenses paid by Holders of Class 7 and Class 8 Equity Interests shall be treated
as provided in sections 4.07 and 4.08 of the Plan.

        2.02 Professional Fee Claims. Professionals or other entities asserting a Professional
Fee Claim for services rendered before the Effective Date must, unless previously filed, file and
serve on Debtors’ Bankruptcy Counsel, the Office of the United States, and to Creditors and
parties in interest who have requested notice pursuant to Bankruptcy Rule 2002, an application
for final allowance of such Professional Fee Claim no later than thirty (30) days after the Effective
Date. Professional Fee Claims shall be paid on the later of: (a) the Effective Date; (b) the date on
which an order of the Bankruptcy Court allowing such Administrative Expense becomes a Final
Order; or (c) the date, or dates, on which the Debtors and the Professional(s) may agree. Any
party in interest may object to a Professional Fee Claim. All fees and expenses earned by Debtors’
professionals subsequent to the Confirmation Date shall be paid by the Debtors as earned and
billed without need for further approval of the Bankruptcy Court.

        2.03 U.S. Trustee’s Fees. The Debtors shall pay to the United States Trustee, at the time
such payments are due, all fees owed under 28 U.S.C. § 1930(a)(6) for disbursements by the
Debtors from the Petition Date through the date on which the case is closed or converted to a case
under Chapter 7. The Debtors will be responsible for disbursing any such payments to the Office
of the U.S. Trustee as owed, and reporting such disbursements under applicable rules.

        2.04 Priority Tax Claims. Allowed Priority Tax Claims, if any, shall be paid in full by
the Debtors on or before the later of (i) closing on the sale of one or more of the Properties or (ii)
the Effective Date.

                                   ARTICLE III
                     CLASSIFICATION OF CLAIMS AND INTERESTS

        Pursuant to Section 1122 of the Bankruptcy Code, set forth below is a designation of
classes of Claims and Interests. Administrative Expense Claims are addressed in Article II, above,


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and have not been classified and are excluded from the following classes in accordance with
Section 1123(a)(1) of the Bankruptcy Code.

       3.01 Class 1: (Secured Tax Claim of Montgomery County Against ElderHome Land)
($8,312.20). Class 1 consists of the Secured Tax Claim of Montgomery County, Maryland in the
amount of $8,312.20, together with accrued interest at the legal rate, arising out of unpaid real
property taxes against the ElderHome Land Property for the period of 2019 through 2021. Class
1 is Unimpaired.

       3.02 (Secured Tax Claim of Montgomery County Against Burtonsville Crossing)
($5,188.85). Class 2 consists of the Secured Tax Claim of Montgomery County, Maryland in the
amount of $5,188.85, together with accrued interest at the legal rate, arising out of unpaid real
property taxes against the Burtonsville Crossing Property for the period of 2019 through 2021.
Class 2 is Unimpaired.

        3.03 (Secured Claim of Millenium Investment Group, LLC against ElderHome Land
and Burtonsville Crossing) ($4,982,108.68). Class 3 consists of the Secured Claim of Millenium
Investment Group, LLC (“MIG”) in the disputed amount of $4,982,108.68. The Class 3 Claim is
secured by the Properties. The Debtors dispute the amount of the Class 3 Claim. The Class 3
Claim shall be allowed in the amount of $3,350,000, except as otherwise provided in section 4.03
of the Plan (the “MIG Allowed Claim”). Class 3 is Impaired.

        3.04 (Post-Petition Secured Claim of SC210034, LLC, against ElderHome Land and
Burtonsville Crossing) ($860,000.00 maximum). Class 4 consists of the Post-Petition Secured
Claim of SC210034, LLC in the estimated maximum amount of $860,000.00. The Class 4 Claim
is secured by a lien on and against substantially all assets of the Debtors, subordinate only to the
lien(s) of the Holder of the Class 3 Secured Claim. Class 4 is Impaired.

        3.05 (General Unsecured Claims against ElderHome Land) ($24,945.00). Class 5
consists of the General Unsecured Claims filed against and/or scheduled by ElderHome Land in
the aggregate amount of approximately $24,945.00. The Debtors reserve the right to object to
these Claims and nothing herein shall constitute an admission that these claims are Allowed. Class
5 is Impaired.

        3.06 (General Unsecured Claims against Burtonsville Crossing) ($325.00). Class 6
consists of the General Unsecured Claims filed against and/or scheduled by Burtonsville Crossing
in the aggregate amount of approximately $325.00. Class 6 is Unimpaired.

        3.07 (Equity Interests in ElderHome Land). As of the Petition Date, the membership
interests in ElderHome Land were owned by Thomas Norris (48%), Elizabeth Norris (48%), and
Kimberly Seeley (4%). Class 7 is Impaired but cannot vote to accept or reject the Plan.

        3.08 (Equity Interests in Burtonsville Crossing). As of the Petition Date, the membership
interests in Burtonsville Crossing were owned by Thomas Norris (46%), Elizabeth Norris (46%),
and Kimberly Seeley (8%). Class 8 is Impaired but cannot vote to accept or reject the Plan.

                               ARTICLE IV
               TREATMENT OF CLASSES OF CLAIMS AND INTERESTS


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       The Plan will be funded from a refinance of the Properties; the sale of the Burtonsville
Crossing Property; the recovery of economic damages against Montgomery County in the
RLUIPA Litigation; new value contributions from the Equity Interest Holders on a monthly
and quarterly basis, and /or the sale of the Properties, as more fully set forth in the Plan. A
summary of the treatment of Claims and Equity Interests is set forth below. The Debtors
reserve the right to object to the validity, priority or extent of Claims, as set forth in the Plan.

       Creditors are expected to receive a distribution based on the priority of their liens, if
any, and consistent with the provisions of the Plan and the Bankruptcy Code. The treatment
of each class of Claims and Equity Interests is more specifically set forth below.

        4.01 Treatment of Class 1 (Secured Tax Claim of Montgomery County, Maryland,
Against ElderHome Land) ($8,312.20). Class 1 consists of the Secured Tax Claim of
Montgomery County, Maryland in the approximate amount of $8,312.20, together with accrued
interest at the legal rate. The Class 1 Secured Tax Claim shall be paid in full by ElderHome
Land upon a sale or refinance of the ElderHome Land Property.

Class 1 is Unimpaired under the Plan, and is not entitled to vote to accept or reject the Plan.

        4.02. Treatment of Class 2 (Secured Tax Claim of Montgomery County, Maryland,
Against Burtonsville Crossing) ($5,188.85). Class 2 consists of the Secured Tax Claim of
Montgomery County, Maryland in the approximate amount of $5,188.85, together with accrued
interest at the legal rate. The Class 2 Secured Tax Claim of Montgomery County, Maryland shall
be paid in full by Burtonsville Crossing upon a sale or refinance of the Burtonsville Land Property.

Class 2 is Unimpaired under the Plan, and is not entitled to vote to accept or reject the Plan.

       4.03 Treatment of Class 3 (Secured Claim of Millenium Investment Group, LLC against
ElderHome Land and Burtonsville Crossing ($4,982,108.68). Class 3 consists of the Disputed
Secured Claim of Millenium Investment Group, LLC secured by the Properties. As of the Petition
Date, MIG alleged a secured claim in the amount of $4,982,108.68, consisting of principal in the
amount of $2,800,000.00, interest in the amount of $1,799,775.05, and fees and costs in the amount
of $382,333.63, evidenced by (i) that certain Promissory Note dated May 22, 2018 in the original
principal amount of $2,800,000; (ii) that certain Deed of Trust dated May 22, 2018 recorded among
the Land Records of Montgomery County, Maryland at Liber 56087, folio 216, encumbering the
Properties; and (iii) that certain Modification of Deed of Trust dated May 22, 2018 recorded among
the Land Records of Montgomery County, Maryland at Liber 57006, folio 279 (collectively, the
“MIG Loan Documents”).

        MIG shall retain its liens (the “MIG Liens”) on the ElderHome Land Property and the
Burtonsville Crossing Property until the MIG Allowed Claim is paid as provide herein. On the
Effective Date, MIG shall release the MIG Liens on all non-Debtor assets and release its claims
against all non-Debtor related parties of the Debtors.

       Except as otherwise provided herein, the MIG Allowed Claim shall be in the amount of
$3,350,000. The MIG Allowed Claim shall be discounted (i) to $2,900,000 if paid on or before



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the Plan Payment Date; or (ii) to $3,100,000 if paid on or before the Discount Termination Date.
If the MIG Allowed Claim, as discounted herein, is paid on or before the Discount Termination
Date, no MIG Interest, MIG Fees or MIG Costs, as defined herein, shall be payable in connection
with the MIG Allowed Claim. The MIG Allowed Claim shall not be subject to surcharge by any
bankruptcy trustee.

        In the event the MIG Allowed Claim, as discounted, is not paid by theDiscount Termination
Date, the MIG Allowed Claim shall accrue interest at the rate of twelve percent 12% per annum
(“MIG Interest”), which MIG Interest shall be calculated from the Effective Date until the MIG
Allowed Claim is paid in full. In the event the MIG Allowed Claim, as discounted, is not paid by
the Discount Termination Date, MIG shall also be entitled to recover those MIG Fees (“MIG
Fees”) (including reasonable attorneys’ fees) and MIG Costs (“MIG Costs”) incurred by MIG after
the Effective Date as provided under the MIG Loan Documents. For the avoidance of doubt, any
fees or costs incurred or chargeable under the MIG Loan Documents prior to the Effective Date of
the Plan (such as loan origination fees, late fees, additional interest, additional attorneys’ fees of
15%) are not included within the definition of “MIG Fees,” “MIG Costs,” and “MIG Interest” as
used herein.

        In the event (a) the MIG Allowed Claim, as discounted, is not paid by the Discount
Termination Date, and (b) the MIG Allowed Claim, together with MIG Interest, MIG Fees and
MIG Costs as provided herein, is not paid in full by the first anniversary of the Effective Date, the
ElderHome Land Property shall be sold at an auction (the “Auction”) pursuant to the provisions
of section 7.02 of the Plan.

       In the event (a) the MIG Allowed Claim, as discounted, is not paid by the Discount
Termination Date, (b) the MIG Allowed Claim, together with MIG Interest, MIG Fees and MIG
Costs as provided herein, is not paid in full by the first anniversary of the Effective Date, and (c)
the Burtonsville Crossing Property has not previously been sold by the Debtors, the Burtonsville
Crossing Property shall also be sold at an Auction pursuant to the provisions of section 7.02 of
the Plan.

       Class 3 is Impaired under the Plan, and is entitled to vote to accept or reject the Plan.

        4.04 Treatment of Class 4 (Secured Claim of SC210034, LLC against ElderHome Land
and Burtonsville Crossing) (Estimated to be a maximum of $860,000.00). Class 4 consists of the
Post-Petition Secured Claim of SC210034, LLC against ElderHome Land and Burtonsville
Crossing in the estimated principal amount of $500,000.00, plus, if the Class 4 Claim is paid in
full on or before July 31, 2022, an additional $360,000.00 in fees and costs. Pursuant to the
SC210034 Agreement, the actual amount of the Class 4 Claim shall be calculated based on the
“Purchaser’s Restructuring Return” plus the “Purchaser’s Share,” as those terms are defined in the
SC210034 Agreement. The Class 4 Claim is secured by a post-petition lien on substantially all
assets of the Debtors, subordinate only to the MIG Liens and any other valid, properly perfected
senior liens and tax liens, as set forth more fully in the Amended and Restated Prepaid Forward
Purchase Agreement dated as of August 23, 2021 (the “SC210034 Agreement”) approved by the
Bankruptcy Court by Order dated August 27, 2021 [Dkt. No. 78].




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        The Class 4 Allowed Secured Claim shall be paid in full within three (3) business days of
receipt by the Debtors of any cash “Litigation Proceeds,” as that term is defined in the SC210034
Agreement, but, in any event, no later than the “Restructuring Date” of August 31, 2023,
subordinate only to the payment of Allowed Claims in Class 1, 2 and 3. The Class 4 Allowed
Secured Claim shall be paid upon a sale or refinance of the ElderHome Land Property.

        SC210034, LLC shall retain its liens until the SC210034, LLC Allowed Secured Claim is
paid in full. In the event the ElderHome Land Property and/or the Burtonsville Crossing Property
is sold at the Auction, the liens of SC210034 shall attach to the proceeds of sale and shall be
subordinate to the MIG Liens.

       Class 4 is Impaired under the Plan, and is entitled to vote to accept or reject the Plan.

        4.05 Treatment of Class 5 (General Unsecured Claims Against ElderHome Land,
($24,945.00). Class 5 consists of General Unsecured Claims filed against and/or scheduled by
ElderHome Land in the amount of approximately $24,945.00. In full and final satisfaction and
discharge of each Allowed Class 5 Claim, each Holder of an Allowed Class 5 Claim shall receive
payment on a pro-rata basis, in quarterly installments of $3,125.00 per quarter, funded by new
value contributions made by one or more of the Holders of Equity Interest in the Debtors, beginning
on the first day of the calendar quarter following the Effective Date, and continuing on the first day
of each quarter thereafter until the Allowed Class 5 Claims are paid in full. In the event of a sale,
refinance or Auction of the ElderHome Land Property and/or the Burtonsville Crossing Property
prior to the payment in full of all Allowed Class 5 Claims, the net proceeds of such sale, refinance,
or Auction shall be applied to the outstanding balance of such Allowed Class 5 Claims after
payment in full of the Allowed Claims in Class 1, 2 and 3 and all closing cost associated with such
sale, refinance, or Auction. The aforementioned payments to the Holders of Class 5 Allowed
General Unsecured Claims against ElderHome Land shall be in full and final satisfaction of their
Allowed Claims. The Debtors reserve the right to object to these Claims and nothing herein shall
constitute an admission that these claims are Allowed.

       Class 5 is Impaired under the Plan, and is entitled to vote to accept or reject the Plan.

       4.06 Treatment of Class 6 (General Unsecured Claims Against Burtonsville Crossing,
$325.00). Class 6 consists of General Unsecured Claims filed against and/or scheduled by
Burtonsville Crossing in the amount of approximately $325.00. In full and final satisfaction and
discharge of each Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim shall receive
payment in full on the Effective Date through new value contributions made by one or more of the
Holders of Equity Interest in the Debtors. The Debtors reserve the right to object to these Claims
and nothing herein shall constitute an admission that these claims are Allowed.

       Class 6 is Unimpaired under the Plan, and is not entitled to vote to accept or reject the Plan.

       4.07 Treatment of Class 7 (Equity Interests in ElderHome Land). Class 7 consists of the
Equity Interests in ElderHome Land. As of the Petition Date, the membership interests in
ElderHome Land were owned by Thomas Norris (48%), Elizabeth Norris (48%), and Kimberly
Seeley (4%).




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        Class 7 Equity Interests in ElderHome Land shall be extinguished upon the Effective Date,
and new equity interests shall be issued in the Reorganized Debtors (“New Interests”). The Equity
Interest Holders will purchase their New Interests in the Reorganized Debtors, in part, by making
new value contributions to the Plan in the aggregate amount of up to $3,125.00 per quarter,
beginning on the first day of the calendar quarter following the Effective Date, and continuing on
the first day of each quarter thereafter, to be used to fund distributions to Holders of Class 5
Allowed General Unsecured Claims, together with new value contributions in the aggregate
amount of up to $5,000 per month to cover ongoing operational expenses of ElderHome Land,
LLC and up to approximately $26,000.00 as and when needed to cover the cost of procuring
additional project entitlements for the Elderhome Land Property.

        In addition to the aforementioned new value contributions, all amounts advanced to, or
paid for the benefit of, the Debtors by the Holders of Equity Interests in Class 7 (i) prepetition as
unsecured loans, and (ii) post-petition to pay Administrative Expenses in connection with the
Chapter 11 Cases and the operations of the Debtors through the Effective Date, shall be treated as
additional new value contributions to purchase the New Interests in the Reorganized Debtors.

        Class 7 is Impaired, but is not entitled to vote because the Holders of Equity Interests in
Class 7 will not retain or acquire any property under the Plan on account of their Equity Interests.
As such, Class 7 is deemed to reject the Plan.

        4.08 Treatment of Class 8 (Equity Interests in Burtonsville Crossing). Class 8 consists
of the Equity Interests in Burtonsville Crossing. As of the Petition Date, the membership interests
in ElderHome Land were owned by Thomas Norris (46%), Elizabeth Norris (46%), and Kimberly
Seeley (8%).

       Class 8 Equity Interests in Burtonsville Crossing shall be extinguished upon the Effective
Date, and New Interests shall be issued in the Reorganized Debtors. The Equity Interest Holders
will purchase their New Interests in the Reorganized Debtors, in part, by making new value
contributions to the Plan in the amount of $325.00 on the Effective Date to fund distributions to
Holders of Class 6 Allowed General Unsecured Claims, together with new value contributions in
the amount of up to $5,000 per month to cover ongoing operational expenses of Burtonsville
Crossing, LLC.

        In addition to the aforementioned new value contributions, all amounts advanced to, or for
the benefit of the Debtors by the Holders of Equity Interests in Class 8 (i) prepetition as unsecured
loans, and (ii) post-petition to pay Administrative Expenses in connection with the Chapter 11
Cases and the operations of the Debtors through the Effective Date, shall be treated as additional
new value contributions to purchase the New Interests in the Reorganized Debtors.

       Class 8 is Impaired, but is not entitled to vote because the Holders of Equity Interests in
Class 8 will not retain or acquire any property under the Plan on account of their Equity Interests.
As such, Class 8 is deemed to reject the Plan.

                                           Article V
                                 Disputed Claims and Interests



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         5.01 Bar Date. Any Claim in existence as of the Bar Date that was not scheduled by the
Debtors, or that is scheduled as contingent, unliquidated or disputed, or that varies in amount,
nature or priority from that stated in the Debtors’ Schedules, must have been asserted, if at all, by
the filing of a Proof of Claim with the Bankruptcy Court no later than the Bar Date. The failure to
have filed a Proof of Claim by the Bar Date shall constitute a bar against the assertion or collection
of any such Claim, and shall relieve the Debtors and the Debtors’ Estate from any liability,
responsibility or obligation with respect to such Claim. Without limiting the generality of the
foregoing, no distribution shall be made pursuant to the Plan with respect to any Claim that was
not filed by the Bar Date or scheduled by Debtors, or that has been Disallowed by virtue of an
objection to such Claim.

        5.02 Objections to Claims. Objections to Claims, if any, must be filed no later than
ninety (90) days after the Effective Date, unless such deadline is extended by order of the
Bankruptcy Court. Settlement of Disputed Claims shall be subject to notice to the Debtors,
Debtors’ Bankruptcy Counsel, the Office of the United States, and to Creditors and parties in
interest who have requested notice pursuant to Bankruptcy Rule 2002.

        5.03 Distributions on Account of Disputed Claims. No distribution shall be made in
respect to a Disputed Claim until and unless such Disputed Claim becomes an Allowed Claim.
The Debtors (as the case may be) shall be authorized to reserve from any distribution to creditors
under the Plan funds sufficient to pay Disputed Claims.

        5.04 Claims Arising as a Result of Avoided Transfers. Any Claim arising as a result of
an order or a judgment entered on or after the Confirmation Date determining that a transfer of
property of the Debtors is avoidable pursuant to Chapter 5 of the Bankruptcy Code must be pursued
by the filing of a Proof of Claim not later than thirty (30) days following the entry of the order or
judgment that gives rise to such Claim. The failure to file or deliver a Proof of Claim by such date
shall constitute a bar against the assertion or collection of any such Claim, and shall relieve the
Debtors and the Debtors’ Estates from any liability, responsibility or obligation with respect to
such Claim. Nothing in this Section shall be construed to mean that the entry of an order or
judgment avoiding a transfer of the Debtors’ property, under Chapter 5 of the Bankruptcy Code or
otherwise, gives rise to an Allowable Claim, and the right to object to any such Claim is hereby
reserved.




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                               ARTICLE VI
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        6.01 Assumption and Rejection of Executory Contracts and Unexpired Leases. Unless
previously rejected by order of the Bankruptcy Court pursuant to section 365 of the Bankruptcy
Code, or by operation of law, or assumed through the provisions of the Plan, on the Effective Date,
all Executory Contracts and Unexpired Leases shall be rejected pursuant to Bankruptcy Code
section 365. The Confirmation Order shall constitute an order of the Bankruptcy Court approving
assumptions and rejections pursuant to section 365 of the Bankruptcy Code. Notwithstanding the
foregoing, absent an Order of the Bankruptcy Court to the contrary, the Confirmation Order shall
constitute an assumption of the contract of sale between Burtonsville Crossing and Canaan
Christian Church, as modified or extended. No cure payments are believed to be due to the
counter-parties of the Executory Contracts and Unexpired Leases.

       In addition to the foregoing, all insurance policies shall remain in full force and effect
unless otherwise validly terminated, and issuers of such policies of insurance shall remain
responsible for claims in accordance with the terms and provisions of such insurance policies.
The insurance policies that have expired as of the Confirmation Date (whether entered into prior
or subsequent to the Petition Date) are not executory contracts subject to assumption or rejection.
The issuers of insurance policies shall be responsible for continuing coverage obligations under
such insurance policies, regardless of the payment status of any retrospective or other insurance
premiums.

        6.02 Claims Arising from the Rejection of Executory Contracts and Unexpired Leases.
Any Rejection Damage Claim arising from the rejection of an Executory Contract or Unexpired
Lease by operation of the Plan must be asserted by the filing of a Proof of Claim with the
Bankruptcy Court, and the service of such Proof of Claim on the Debtors’ Bankruptcy Counsel.
Such Proof of Claim must be filed with the Bankruptcy Court, and received by Debtors’
Bankruptcy Counsel no later than the Rejection Claims Bar Date. Any Allowed Rejection Damage
Claim shall be treated, as applicable, as a Class 5 or Class 6 Claim in accordance with Article IV
of the Plan. The failure to file or deliver a Rejection Damage Claim by the Rejection Claims Bar
Date shall constitute a bar against the assertion or collection of any such Claim, and shall relieve
the Debtors and the Debtors’ Estate from any liability, responsibility or obligation with respect to
such Claim. Without limiting the generality of the foregoing, no distribution shall be made
pursuant to the Plan with respect to any Rejection Damage Claim that is not filed and delivered by
the Rejection Claims Bar Date.

                                      ARTICLE VII
                                IMPLEMENTATION OF PLAN

        7.01 Revesting of Assets. Except as otherwise expressly provided in the Plan or by Order
of the Bankruptcy Court, on the Effective Date, all assets of the Debtors shall be revested in the
Reorganized Debtors as provided in section 1141 of the Bankruptcy Code free and clear of all
liens, security interests, recording taxes, and other interests, choate or inchoate, resulting from all
Claims and Equity Interests of all Creditors, Interest Holders and parties-in-interest. For the
avoidance of doubt, except as otherwise set forth by Order of the Bankruptcy Court, the Holders



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of Allowed Secured Claims shall retain their liens until such Secured Claims are paid in accordance
with the terms of the Plan.

       7.02 Funding. Sufficient equity exists in the assets of the Debtors to pay all Allowed
Claims in full, from one or more of the following sources: (i) a refinance of the Properties; (ii) the
recovery of economic damages against Montgomery County in the RLUIPA litigation; (iii) the sale
of the Properties; and (iv) new value contributions by the Holders of Equity Interests. These
funding sources will be sufficient to also pay ongoing operating expenses, including property taxes,
insurance, US Trustee fees, and administrative expenses.

        The Burtonsville Crossing Property shall be sold to Canaan Christian Church pursuant to
the existing contract thereon, which contract is currently in litigation and on appeal before the U.S.
Court of Appeals for the Fourth Circuit. Notwithstanding the preceding sentence, if the MIG
Allowed Claim, together with MIG Interest, MIG Fees and MIG Costs as provided in section 4.03
of the Plan, has not been paid in full as of the first anniversary of the Effective Date, the Burtonsville
Crossing Property shall be sold at the Auction pursuant to the provisions set forth herein. Subject to
MIG’s right to credit bid and its right to object to a sale proposed by the Debtors (other than a sale
pursuant to the existing contract with Canaan Christian Church), upon any arm’s length sale or
refinance of the Burtonsville Crossing Property at any time prior to the payment in full of the MIG
Allowed Claim, together with MIG Interest, MIG Fees and MIG Costs if closing on such sale or
refinance occurs after the Discount Termination Date, at the closing on such sale or refinance, the
net proceeds thereof, after payment of all usual and customary closing costs and commercially
reasonable deductions, shall be paid to MIG as a partial payment of the MIG Allowed Claim, together
with MIG Interest, MIG Fees and MIG Costs if the closing on such sale or refinance occurs after the
Discount Termination Date .

        In the event (a) the MIG Allowed Claim, as discounted, is not paid by the Discount
Termination Date, and (b) the MIG Allowed Claim, together with MIG Interest, MIG Fees and
MIG Costs as provided in section 4.03 of the Plan, is not paid in full by the first anniversary of the
Effective Date, the ElderHome Land Property (and the Burtonsville Crossing Property if not
previously sold as provided herein) shall be sold at an Auction. The Auction shall be conducted
by SC&H Group, or another auctioneer with comparable expertise and experience conducting
auctions of real property such as the ElderHome Land Property and the Burtonsville Crossing
Property. The Auction shall not occur more than fifty-five (55) days thereafter without the express
consent of MIG. At the Auction, MIG shall be entitled to credit bid up to the full amount of the
MIG Allowed Claim, together with MIG Interest, MIG Fees and MIG Costs.

        If an Auction is conducted, the purchaser at the Auction shall receive title to the ElderHome
Land Property (and the Burtonsville Crossing Property, if applicable) free and clear of all liens,
claims and encumbrances. In the event MIG is not the purchaser at the Auction, at closing thereon,
the net proceeds of sale at the Auction shall be paid to MIG up to the amount of the MIG Allowed
Claim, together with MIG Interest, MIG Fees and MIG Costs and the MIG Liens shall be released
upon receipt of payment at closing.

         In the event purchaser at the Auction does not receive insurable and marketable title to the
ElderHome Land Property (and the Burtonsville Crossing Property, if applicable) free and clear of
all liens, claims, encumbrances, real property taxes, or other clouds on title, then the Reorganized


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Debtors consent to the immediate appointment of a chapter 11 bankruptcy trustee to control the
disposition of the ElderHome Land Property (and the Burtonsville Crossing Property, if
applicable), if requested by MIG to satisfy the MIG Allowed Claim, together with MIG Interest,
MIG Fees and MIG Costs, subject to the MIG Liens.

        7.03 Reorganized Debtor. The Reorganized Debtor shall have all rights, duties and
powers set forth in the Plan, including, without limitation, the duty to review and object to Claims
and make distributions pursuant to the terms of the Plan and the Confirmation Order. The
Reorganized Debtor shall have all the powers of a trustee under the Bankruptcy Code. On the
Effective Date, the Reorganized Debtor may employ counsel and other professionals as may be
reasonably necessary for its operations and to execute the Plan without the necessity of application
to the Bankruptcy Court. Such professionals may be retained and compensated for post-Effective
Date services in the ordinary course without the necessity of application to the Bankruptcy Court.

        From and after the Effective Date of the Plan, the Reorganized Debtors shall, at the same
time that they submit their Post-Confirmation Quarterly Reports to the Office of the United States
Trustee, provide quarterly post-confirmation evidence concerning the entitlements and permitting
of the ElderHome Land Property, including documentation related to permits and variances and
the associated fees with respect thereto (the “Quarterly Updates”). In the event of a dispute
between the Reorganized Debtors and MIG with respect to the content of any Quarterly Update,
the parties shall submit such dispute to resolution by the Bankruptcy Court and agree to be bound
by the Bankruptcy Court’s ruling with respect thereto.

       The Reorganized Debtors shall continue to pay in a timely fashion all post-petition real
property taxes assessed on the ElderHome Land Property and the Burtonsville Crossing Property
as and when such taxes come due.

         On the first anniversary of the Effective Date, the Reorganized Debtors shall obtain a title
update on the ElderHome Land Property (and the Burtonsville Crossing Property if not previously
sold) to determine whether any liens, claims, encumbrances, real property taxes or other clouds on
title exist that would prevent an Auction purchaser from receiving marketable title. To the extent
any such liens, claims, encumbrances, real property taxes or other clouds on title exist upon receipt
of the title update, it shall be the sole responsibility of the Reorganized Debtors to take the
necessary steps to ensure that insurable and marketable title can be conveyed at any Auction
conducted pursuant to section 7.02 of the Plan.

        7.04 Distributions. Except with respect to Holders of Allowed liens which shall be paid
at closing pursuant to the Plan or Order of the Bankruptcy Court, the Debtors shall make all
distributions under the Plan in cash made by check drawn on a domestic bank or by wire transfer
from a domestic bank. Subject to the provisions of Bankruptcy Rule 2002(g) and except as
otherwise provided under the Plan, the Debtors will make distributions to Holders of Allowed
Claims at each Holder’s address set forth on the Schedules filed with the Bankruptcy Court unless
superseded by a different address set forth in a timely filed proof of Claim filed by the Holder or
if the Debtors have been notified in writing of a change of address at the following address.

       7.05 Corporate Action. On the Effective Date, all matters provided for under the Plan
that would otherwise require approval of the members, stockholders, directors or comparable


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governing bodies of the Debtors, shall be deemed to have occurred and shall be in effect from and
after the Effective Date pursuant to the applicable general corporation law (or other applicable
governing law) of the state in which the Debtors are incorporated or organized, without any
requirement of further action by the members, stockholders or directors (or other governing body)
of the Debtors. On the Effective Date, or as soon thereafter as is practicable, (i) the Debtors’
articles of incorporation and bylaws, or if applicable operating agreement, shall, to the extent
necessary, be amended to comply with the provisions of Section 1123(a)(6) of the Bankruptcy
Code and otherwise in a manner not inconsistent with the Plan, and (ii) the Debtors shall take all
actions necessary to implement the Plan.

       As of the Effective Date, Thomas Norris and Elizabeth Norris shall manage the
Reorganized Debtors and shall continue to oversee the business operations of the Reorganized
Debtors. Nothing herein or in the Confirmation Order, including any releases, shall diminish or
impair the enforceability of any policy of insurance that may cover claims against the Debtors.
Each of the matters provided for under the Plan involving the business structure of the Reorganized
Debtors or action to be taken by or required of the Reorganized Debtors shall, as of the Effective
Date, be deemed to have occurred and be effective as provided herein, and shall be authorized and
approved in all respects without any requirement of further action by the member of the
Reorganized Debtors. The Reorganized Debtors shall operate under their current names under the
organizational documents issued by the State of Maryland.

         7.06 Small Distributions and Unclaimed Funds. The Debtors shall not be required to
make a distribution on account of any Claim, which distribution would be less than $25.00 in
amount. Subject to the notice provision set forth herein, any payment that is not negotiated one-
hundred eighty (180) days after the date on which it is mailed may be stopped, and the funds made
available for distribution to other Creditors pursuant to the Plan. Any payment that is returned as
undeliverable may be voided, and the funds represented by such payment made available for
distribution to other Creditors pursuant to the Plan. In the event that payment of an initial
distribution is returned as undeliverable or is not negotiated within one-hundred eighty (180) days
after it is mailed, the Debtors shall not be required to make any further distributions to such
Creditor under the Plan, and the funds that otherwise would have been distributed to such Creditor
may be made available, in the Debtors’ discretion, as applicable, for distribution to other Creditors
pursuant to the Plan.

        7.07 Preservation of Rights of Action/Settlement of MIG Litigation. On the Effective
Date, the Debtors shall retain the sole right to commence or continue any and all Causes of Action
and Avoidance Actions on behalf of the Estate. Any recovery, after payment of fees and expenses,
obtained from any such action shall be made available for distribution to Holders of Claims in
there priority, subject to Section 7.09(b) of the Plan.

        On the Effective Date of the Plan, the adversary proceeding captioned Elderhome Land,
LLC, et al. v. Millenium Investment Group, LLC, Adversary Proceeding No. 21-00204, shall be
dismissed with prejudice and general releases in favor of MIG shall be provided by the Debtors.
All proceedings in all courts by MIG against the non-Debtor related parties of the Debtors shall
likewise be dismissed with prejudice and general releases in favor of the non-Debtor related parties
will be provided by MIG.



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        7.08 Set off and Recoupment. The Debtors may, but shall not be required, to set off
against any Claims (for purposes of determining the Allowed amount of such Claim on which
distribution shall be made) of any nature whatsoever that the Debtors may have against the Holder
of such Claim, but neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by the Debtors of any such Claim the Debtors may have against the
Holder of such Claim.

       7.09    Disputed Claim Procedure.

     (a) Authority to Prosecute Objections
        After the Effective Date, the Debtors, Creditors and parties-in-interest shall be entitled to
object to all Claims. Objections to Claims, if any, must be filed no later than ninety (90) days after
the Effective Date, unless such deadline is extended by order of the Bankruptcy Court. Settlement
of Disputed Claims shall be subject to notice to the Debtors, Debtors’ Bankruptcy Counsel, the
Office of the United States, and to Creditors and parties in interest who have requested notice
pursuant to Bankruptcy Rule 2002.

    (b) No Distributions on Disputed or Disallowed Claims

       Except as may otherwise be ordered by the Bankruptcy Court or authorized under the
terms of the Plan, the Debtors shall not make distributions to Holders of Disputed Claims until
the Disputed Claim become an Allowed Claim. The Debtors shall make no distributions to
holders of Disallowed Claims.

    (c) Late Claims Void

        Unless otherwise expressly allowed by Order of the Bankruptcy Court or otherwise
provided by the Plan, any Claim filed after the applicable Claims Bar Date will be void and of no
force or effect, and will receive no distributions under the Plan.

         7.10 Exculpation. The Debtors and their respective officers and/or directors (including
their respective Professionals)(collectively, the “Exculpation Parties”) shall not have any liability
to any Holder of a Claim for any act or omission occurring after the Petition Date and through the
Effective Date in connection with, related to, or arising out of the Chapter 11 Cases, including,
negotiations regarding or concerning the Plan, the pursuit of confirmation of the Plan, the
consummation the Plan, or the administration of the Estate or the Plan or the property to be
distributed under the Plan, except for willful misconduct or gross negligence, and, in all respects,
the Exculpation Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under the Plan.

         7.11 Conditions Precedent to the Effective Date. The following are conditions
precedent to the Effective Date of the Plan: (a) the Bankruptcy Court has entered the Confirmation
Order in a form reasonably acceptable to the Debtors; (b) the Confirmation Order becomes a Final
Order; and (c) all of the other actions needed to be taken or documents needed to be executed or
approved to implement the Plan, have been taken, executed, or approved. The Plan Proponents,
in their sole discretion, may jointly waive any of the foregoing conditions and deem the Plan
effective without their occurrence.


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       If each of the conditions to the occurrence of the Effective Date has not been satisfied or
duly waived, the Confirmation Order may be vacated by the Bankruptcy Court upon request by
the Debtors. If the Confirmation Order is vacated, the Plan shall be null and void in all respects,
and nothing contained in the Plan shall constitute a waiver or release of any Claims against the
Debtors.

       7.12 Retention of Jurisdiction. The United States Bankruptcy Court shall retain
exclusive jurisdiction after Confirmation of the Plan of all matters arising from or related to the
Plan, for as long as necessary for the purpose of §§105(a), 1127, 1142(b) and 1144 of the
Bankruptcy Code and for, inter alia, the following purposes:

        (a)    hear and determine motions, applications, adversary proceedings, and contested
        matters pending or commenced after the Effective Date;

        (b)      hear and determine objections to Claims (whether filed before or after the
        Effective Date), or requests for estimation of any Claim, and to enter any order requiring
        the filing of proof of any Claim before a particular date;

        (c)    estimate any Claim at any time, including, without limitation, during litigation
        concerning any objection to such Claim, including any pending appeal;

        (d)    ensure that distributions to holders of Allowed Claims are accomplished as
        provided in the Plan;

        (e)    enter and implement such orders as may be appropriate in the event the
        Confirmation Order is for any reason stayed, revoked, modified, or vacated;

        (f)    issue or construe such orders or take any action as may be necessary for the
        implementation, execution, enforcement and consummation of the Plan and the
        Confirmation Order, and hear and determine disputes arising in connection with the
        foregoing;

        (g)    hear and determine any applications to modify the Plan, to cure any defect or
        omission or to reconcile any inconsistency in the Plan, the Disclosure Statement, or in any
        order of the Bankruptcy Court including, without limitation, the Confirmation Order;

        (h)     hear and determine all applications for Professional Fee Claims;

        (i)    hear and determine other issues presented or arising under the Plan, including
        disputes among holders of Claims and arising under agreements, and the documents or
        instruments executed in connection with the Plan;

        (j)     hear and determine any action concerning the recovery and liquidation of the
        assets of the Estates, wherever located, including without limitation, litigation to liquidate
        and recover the assets of the Estates or other actions seeking relief of any sort with respect
        to issues relating to or affecting the assets of the Estates;



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        (k)     hear and determine any action concerning the determination of taxes, tax
        refunds, tax attributes, and tax benefits and similar or related matters with respect to
        the Debtors or the Estates including, without limitation, matters concerning federal,
        state, and local taxes in accordance with sections 346, 505 and 1146 of the
        Bankruptcy Code; hear and determine any other matters related hereto and not
        inconsistent with Chapter 11 of the Bankruptcy Code;

        (l)     Resolve any dispute between the Reorganized Debtors and MIG with respect
        to the content of any Quarterly Update, as provided in section 7.03 of the Plan; and

        (m)     enter the Final Decree.

                                     ARTICLE VIII
                               EFFECTS OF CONFIRMATION

         8.01 Discharge of Claims and Interests. Except as otherwise expressly provided by the
Plan, the Confirmation of the Plan (subject to the occurrence of the Effective Date) shall discharge
the Debtors to the extent provided in Section 1141(d) of the Bankruptcy Code from all debts that
arose on or before the Confirmation Date, and all debts of the kind specified in Sections 502(g),
502(h) or 502(i) of the Bankruptcy Code, whether or not a Proof of Claim is filed or is deemed
filed, whether or not such Claim is Allowed, and whether or not the holder of such Claim voted
with respect to the Plan. Except as otherwise expressly provided by the Plan, all property of the
Debtors’ Estates shall, upon entry of the Confirmation Order, be vested in the Reorganized
Debtors and will be retained by the Reorganized Debtors on the Effective Date. All such property
shall be free and clear of all Claims and the Interest of Creditors and other parties-in-interest,
except as otherwise set forth in the Plan.

        8.02 Disallowance of Certain Charges. Except as otherwise provided in the Plan, all
penalties, default interest or late fees that may have accrued on any Claim prior to the
Confirmation Date are disallowed.

         8.03 Provisions Cumulative. The provision set forth in Sections 8.01 are in addition to,
and not in lieu of, any other release or exculpation separately given or received, conditionally or
unconditionally, by or from the Debtors or the Debtors-In-Possession, to or from any other person
or entity.

                                     ARTICLE IX
                              MISCELLANEOUS PROVISIONS

         9.01 Modification of Plan. The Plan Proponents, as appropriate, reserve the right to
modify the Plan pursuant to Section 1127 of the Bankruptcy Code. Before or after the
Confirmation Date, or in the Confirmation Order, the Debtors may, with the approval of the
Court, so long as it does not materially and adversely affect the interests of creditors who have
accepted the Plan, remedy any defect or omission, or reconcile any inconsistencies in the Plan
or amend the Plan, in such a manner as may be necessary to carry out the purposes and the
effect of the Plan without the necessity of re-soliciting acceptances.


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        9.02 Revocation of Plan. The Plan Proponents may revoke or withdraw the Plan at
any time prior to the Effective Date. If the Plan is revoked or withdrawn, or the Confirmation
Order is not entered, the Plan shall be null and void.

        9.03 Computation of Time. In computing any period of time prescribed or allowed by
the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

        9.04 United States Trustee Fees. Any fees payable under 28 U.S.C. § 1930 accruing
after the Effective Date shall be timely paid by the Reorganized Debtors.

         9.05 Notices. On and after the Effective Date, all notices, requests and distributions to
a Holder of a Claim or Equity Interest shall be sent to the last known address of (i) the holder or
its attorney of record as reflected in the holder’s proof of Claim or Administrative Claim filed by
or on behalf of such Holder, or (ii) in the absence of an address provided under (i), the address
listed in the Debtors’ Schedules. Any Holder of a Claim or Equity Interest may designate another
address by providing Debtors written notice of such address, which notice will be effective upon
receipt by the Debtors of the written designation. Notice to the Debtors shall be directed to:

       ElderHome Land, LLC and Burtonsville Crossing, LLC
       Attn: Thomas Norris
       P.O. Box 310
       Ashton, Maryland 20861

       With a copy to:

       Lawrence A. Katz, Esq.
       Hirschler Fleischer, P.C.
       8270 Greensboro Drive
       Suite 700
       Tysons, VA 22102

       9.06 Section 1146 Exemption. To the fullest extent permitted by Section 1146(a) of the
Bankruptcy Code, the issuance, transfer or exchange of any security under the Plan, or the
execution, delivery or recording of an instrument of transfer pursuant to, in implementation of or
as contemplated by the Plan, or the vesting, transfer or sale of any property (real or personal) of
the Debtors pursuant to, in implementation of or as contemplated by the Plan, shall not be taxed
under any state or local law imposing a stamp tax, transfer tax or similar tax or fee.

        9.07 Severability. If any provision of the Plan is determined to be unenforceable, such
determination shall not limit or affect the enforceability and operative effect of any other provision
of the Plan.

       9.08 Manner of Payment. Payments provided hereunder may be made, at the option of
the Debtors, in cash, by wire transfer or by check drawn on any money market center bank.

        9.09 Further Actions and Assurances. All persons bound by the Plan, including without
limitation all Creditors and parties in interest and persons to be paid under or pursuant to the Plan,


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shall execute and deliver such releases and documents of transfer and assignment as the Debtors
may reasonably request to effectuate the terms of the Plan. In addition to other remedies, the
Debtors may condition or withhold payment to any person who fails to execute and deliver such
documents or instruments as the Debtors may reasonably request to effectuate the terms of the
Plan.

        9.10 Successors and Assigns. The rights, benefits and obligations of any Person or
Entity named or referred to in the Plan shall be binding on, and shall inure to the benefit of, any
heir, executor, administrator, successor or assign of such Person or Entity.

        9.11 Governing Law. Unless a rule of law or procedure is supplied by (i) Federal law
(including the Bankruptcy Code and Bankruptcy Rules), or (ii) an express choice of law provision
in any agreement, contract, instrument or document provided for, or executed in connection with,
the Plan, the rights and obligations arising under the Plan and any agreements, contracts,
documents and instruments executed in connection with the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Maryland without giving
effect to the principles of conflict of laws thereof.

        9.12 Confirmation Pursuant to sections 1129(a)(10) and 1129(b) of the Bankruptcy
Code. Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of confirmation
by acceptance of the Plan by an impaired Class. If any class of Claims or Equity Interests entitled
to vote on the Plan does not accept the Plan pursuant to section 1126(c), the Debtor reserves the
right to request confirmation of the Plan under section 1129(b) of the Bankruptcy Code and to
modify the Plan to the extent, if any, that confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification.


Dated: March 29, 2022                         /s/ Lawrence A. Katz
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